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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                    Plaintiff,

                                                                 ORDER

                                                                 07-CR-6025L

                     v.

TERRY BRENSON,



                              Defendant.
________________________________________________


       Defendant’s motion (Dkt. #148) to defer payments toward his fine and penalty assessment,

until he is released from custody is DENIED.

       IT IS SO ORDERED.



                                    _______________________________________
                                             DAVID G. LARIMER
                                           United States District Judge


Dated: Rochester, New York
       March 16, 2010.
